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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-02093-RMR-KAS

  JERIYMA HARTSFIELD, individually and on behalf
  of others similarly situated,

         Plaintiff,

  v.

  FRONTIER AIRLINES, INC., FRONTIER AIRLINES
  HOLDING, INC., FRONTIER AIRLINES MANAGEMENT,
  INC., and INDIGO PARTNERS, LLC,

           Defendants.



           DEFENDANTS’ RULE 7.1 CORPORATE DISCLOSURE STATEMENT


         Pursuant to Fed. R. Civ. P. 7.1, Defendants Frontier Airlines, Inc. (“Frontier”), Frontier

  Airlines Holdings, Inc. (“Frontier Holdings”), Frontier Airlines Management, Inc. (“Frontier

  Management”), and Indio Partners LLC (“Indigo”), hereby disclose as follows:

         1.       Frontier Airlines, Inc. is a Colorado corporation with its principal place of

  business in Colorado. Frontier Airlines Holdings, Inc., a Delaware corporation, is the 100% owner

  of Frontier Airlines, Inc.

         2.       Frontier Airlines Holdings, Inc. is a Delaware corporation. Frontier Group

  Holdings, Inc., a Delaware corporation, is the 100% owner of Frontier Airlines Holdings, Inc.

         3.       Frontier Airlines Management, Inc. is a Delaware corporation. Frontier Airlines,

  Inc. is the 100% owner of Frontier Airlines Management, Inc.

         4.       Indigo Partners LLC is a Nevada limited liability company. Indigo does not have

  any parent corporation and no publicly held corporation holds 10% or more of its stock, if any.
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        Respectfully submitted November 13, 2023.

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 13th day of November, 2023, a true and correct copy of the
  foregoing was filed via CM/ECF and served electronically through CM/ECF on the following:


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                                                            /s/ Anna S. Day
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